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                        IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


  UNITED STATES OF AMERICA,
                                                  Case No. 2:20CR00027-JNP
         Plaintiff,

         vs.                                      NOTICE OF APPEAL

  JONATHAN ALEXANDER MORALES-
  LOPEZ,                                          Judge Jill N. Parrish

         Defendant.


       Notice is hereby given that the United States of America, plaintiff in the above-entitled

action, hereby appeals pursuant to 18 U.S.C. § 3731 the District Court’s June 30, 2022 Order

granting Morales-Lopez’s motion to vacate his conviction on Count III of the Indictment.

       DATED this 1st day of August, 2022.

                                             TRINA A. HIGGINS
                                             United States Attorney


                                             /s/ Sam Pead
                                             SAM PEAD
                                             Assistant United States Attorney
